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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA             :
                                     :
       v.                            : MAGISTRATE NO. 21-MJ-195 (ZMF)
                                     :
ETHAN NORDEAN,                       :
Also known as “Rufio Panman,”        :
                                     :
               Defendant.            :
                              TRANSPORT ORDER

          Having considered the United States’ Motion to have the defendant Ethan Nordean

transported from the Western District of Washington to the District of Columbia for further

proceedings on the Complaint filed against him, it is hereby ORDERED

          That the United States Marshals Service transport the defendant forthwith from the

Western District of Washington to the District of Columbia for further proceedings in this

matter.




          DATE:
                                           BERYL A. HOWELL, CHIEF JUDGE
                                           UNITED STATES DISTRICT COURT
                                           FOR THE DISTRICT OF COLUMBIA




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